                  Case 2:22-cv-01365-TSZ Document 4 Filed 09/29/22 Page 1 of 2




 1
 2
 3
                                                                    HONORABLE THOMAS S. ZILLY
 4
 5
 6
 7                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 8                                             AT SEATTLE
 9   DISPLAY TECHNOLOGIES, LLC,
10                                                         No.: 2:22-cv-01365-TSZ
                      Plaintiff,
11                                                         PLAINTIFF’S CORPORATE
             v.                                            DISCLOSURE STATEMENT
12
     VALVE CORPORATION,
13
14                    Defendant.                           JURY TRIAL DEMANDED

15
             Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and
16
17   Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned
18   counsel for Display Technologies, LLC a private non-governmental property, certifies that the
19
     names of all associations, firms, partnerships, corporations, and other artificial entities that either
20
21   are related to the plaintiff as a parent, subsidiary, or otherwise, or have a direct or indirect

22   pecuniary interest in the plaintiff’s outcome in the case are below:
23
             Patent Asset Management, LLC
24
25
26
27
28
29
30

      PLAINTIFF’S CORPORATE DISCLOSURE STATEMENT - 1                           MEYLER LEGAL, PLLC
      (Case No. 2:22-cv-01365-TSZ)                                        1700 WESTLAKE AVE. N., STE 200
                                                                           SEATTLE, WASHINGTON 98109
                                                                        TEL: (206) 876-7770  FAX: (206) 876-7771
                Case 2:22-cv-01365-TSZ Document 4 Filed 09/29/22 Page 2 of 2




     Dated: September 29, 2022.
 1
 2                                                     MEYLER LEGAL, PLLC
 3
 4                                                      /S/ SAMUEL M. MEYLER
                                                       SAMUEL M. MEYLER, WSBA #39471
 5                                                     1700 Westlake Ave. N., Ste. 200
 6                                                     Seattle, WA 98109
                                                       Tel: 206-876-7770
 7                                                     Fax: 206-876-7771
 8                                                     E-mail: samuel@meylerlegal.com
                                                       Counsel for Plaintiff Display Technologies,
 9                                                     LLC
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30

      PLAINTIFF’S CORPORATE DISCLOSURE STATEMENT - 2                    MEYLER LEGAL, PLLC
      (Case No. 2:22-cv-01365-TSZ)                                 1700 WESTLAKE AVE. N., STE 200
                                                                    SEATTLE, WASHINGTON 98109
                                                                 TEL: (206) 876-7770  FAX: (206) 876-7771
